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                      IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

     IN RE:                                         §      CASE NO. 25-30155
                                                    §
     ALLIANCE FARM AND RANCH, LLC,                  §      (CHAPTER 11)
                                                    §
          DEBTOR                                    §
                                                    §
     IN RE:                                         §      CASE NO. 25-31937
                                                    §
     ALLIANCE ENERGY PARTNERS, LLC,                 §      (CHAPTER 11)
                                                    §
          DEBTOR                                    §
                                                    §


              WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 20, 2025

 Main Case No.: 25-30155                       Name of Debtor: Alliance Farm and Ranch,
                                               LLC
 Witnesses:                                    Judge: Alfredo R. Perez
                                               Courtroom Deputy: Akeita House
 Corporate representative for the Debtor(s)    Hearing Date: May 20, 2025
 Any witness(es) designated by any other party Hearing Time: 10:00 A.M.
 Any rebuttal witness(es)                      Party’s Name: The Official Committee of
                                               Unsecured Creditors of Alliance Farm and
                                               Ranch, LLC and Alliance Energy Partners,
                                               LLC (the “Committee”)
 Any rebuttal witness(es)                      Attorney’s Name: William Hotze
                                               Attorney’s Phone Number: 713-904-6900

                                 MOTIONS TO BE HEARD

1.       Application to Employ Okin Adams Bartlett Curry, LLP as General Counsel to the Debtor
        [ECF No. 26]; Application to Employ Deborah L. Crain and E-Merger Law, PLLC as
        Special Counsel [ECF No. 31]; Emergency Motion to Convert Case from Chapter 11 to
        Chapter 7 [ECF No. 68].

                                         EXHIBITS

 Ex.    Description                       Offered       Objection Admitted/Not Disposition
 No.                                                              Admitted
 1.     Any Exhibits designated by any
        other party to this matter.
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      The Committee reserves the right to supplement or amend this Exhibit and Witness list.

Dated: May 16, 2025

                                          Respectfully submitted,


                                          DYKEMA GOSSETT PLLC

                                            By: /s/ Nicholas Zugaro
                                            William Hotze
                                            TX State Bar No. 24087754
                                            Nicholas Zugaro
                                            TX State Bar No. 24070905
                                            5 Houston Center
                                            1401 McKinney Street, Suite 1625
                                            Houston, Texas 77010
                                            Telephone: (713) 904-6900
                                            Email: whotze@dykema.com
                                                   nzugaro@dykema.com

                                            Proposed Counsel for Official Committee of
                                            Unsecured Creditors
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                               CERTIFICATE OF SERVICE

      This is to certify that on May 16, 2025, a true and correct copy of the foregoing Notice of
Appearance was served via the Court's CM/ECF notification system.


                                                      /s/ Nicholas Zugaro
                                                          Nicholas Zugaro
